Case 2:19-cv-00050-RWS-RSP Document 230 Filed 06/24/21 Page 1 of 2 PageID #: 6466




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


  BOOKER T. HUFFMAN                          §
                                             §
  V.                                         §       CIVIL NO. 2:19CV50
                                             §
  ACTIVISION PUBLISHING, INC., et al         §

  ______________________________________________________________________________

                       MINUTES FOR FOURTH DAY OF TRIAL
                   HELD BEFORE JUDGE ROBERT W. SCHROEDER III
                                  JUNE 24, 2021

  OPEN: 8:42 a.m.                                           ADJOURN: 2:45 p.m.
  ______________________________________________________________________________

  ATTORNEY FOR PLAINTIFF:                    Patrick Zummo, Micah Dortch and Christopher
                                             Lindstrom

  ATTORNEYS FOR DEFENDANTS:                  Melissa Smith, Daralyn Durie and Leon Carter

  LAW CLERK:                                 Susan Stradley

  COURTROOM DEPUTY:                          Betty Schroeder

  COURT REPORTER:                     Kate McAlpine
  ______________________________________________________________________________

  8:42 a.m.   Outside the presence of the jury, Mr. Dortch offers three exhibits as an offer of proof;
              Mr. Andrew Esbenshade responds; Court responds

  8:55 a.m.   Ms. Lanier advises the Court of Defendants’ objections to the jury instructions

  8:57 a.m.   Mr. Zummo responds

  8:58 a.m.   Ms. Lanier advises the Court of Defendants’ objections to the verdict form

  8:59 a.m.   Mr. Zummo advises that Plaintiff does not have any objections

  9:00 a.m.   Ms. Smith offers into the record exhibits used yesterday; Court advises that the
              defendants’ exhibits are admitted without objection
Case 2:19-cv-00050-RWS-RSP Document 230 Filed 06/24/21 Page 2 of 2 PageID #: 6467




  9:03 a.m.    Ms. Lanier advises the Court of the parties agreement regarding an instruction; Court
               responds

  9:05 a.m.    Recess

  9:34 a.m.    Jury seated

  9:38 a.m.    Mr. Zummo advises that the Plaintiff rests on its entire case

  9:38 a.m.    Ms. Durie advises that the Defendants rest on their entire case

  9:38 a.m.    Court gives final instructions to the jury

  10:14 a.m.   Mr. Zummo begins closing argument for Plaintiff

  10:47 a.m.   Ms. Durie begins closing argument for Defendants

  11:15 a.m.   Mr. Dortch concludes Plaintiff’s closing argument

  11:29 a.m.   Jury excused to begin deliberations

  11:31 a.m.   Recess

  2:35 p.m.    Outside the presence of the jury, parties advise they need to read in some additional
               exhibits but it will be done after the jury is excused

  2:37 p.m.    Jury seated

  2:37 p.m.    Court is advised that a verdict has been reached and it is unanimous

  2:38 p.m.    Verdict read

  2:38 p.m.    Court polls the jury; all eight jurors stood; verdict is confirmed and accepted

  2:39 p.m.    Court thanks the jury and releases them

  2:43 p.m.    Jury released

  2:43 p.m.    Court asks the parties to meet and confer regarding a post trial briefing schedule due
               by next Friday; Mr. Dortch reads into the record exhibits used yesterday; no
               objections; received and admitted; Ms. Smith reads into the record additional exhibits
               used yesterday; no objections; received and admitted

  2:45 p.m.    Adjourned
